                              No. 22-1757

                UNITED STATES COURT OF APPEALS
                    FOR THE FOURTH CIRCUIT

                         MATTHEW GIBSON,
                          Plaintiff-Appellee
                                   v.

                   LOUISE E. GOLDSTON, individual
                        Defendant-Appellant

                                  and

COUNTY COMMISSION OF RALEIGH COUNTY, a political subdivision;
 JEFF MCPEAKE, individually; BOBBY STUMP, individually, BRIAN
                     WHITE, Individually

                              Defendants.

    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                          AT BECKLEY
__________________________________________________________________

                   APPELLANT’S REPLY BRIEF
__________________________________________________________________

Jennifer E. Tully (WV Bar #9356)
John P. Fuller (WV Bar #9116)
Adam K. Strider (WV Bar #12483)
BAILEY & WYANT, PLLC
500 Virginia Street, East, Suite 600
Post Office Box 3710
Charleston, West Virginia 25337-3710
T: 304.345.4222
F: 304.343.3133
jtully@baileywyant.com
jfuller@baileywyant.com
astrider@baileywyant.com
Counsel for Defendants-Appellants
                                    TABLE OF CONTENTS


TABLE OF AUTHORITIES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .ii
REPLY ARGUMENTS ………………………………………... . . . . . . . . . . . . . . 1
        A.      Contrary to the Appellee’s misconstruction of the factual record in his
                Response Brief, the Appellant did not participate in efforts to search for
                or locate property in the Appellee’s Home…………………………….1
        B.      The Appellee’s reliance on Lo-Ji Sales, Inc. v. New York, 442 U.S. 319,
                99 S. Ct. 2319, 60 L. Ed. 2d 920 (1979), is misplaced, as judicial
                immunity was not in issue in that case, and the case is factually
                distinguishable in material ways………………………………………1
        C.      Based on the record and applicable case law, Judge Goldston did not
                act in the absence of all jurisdiction…………………………………..7
        D.      The West Virginia Supreme Court of Appeals’ opinion in In Re
                Goldston has no preclusive effect as to questions of law in this
                matter………………………………………………………………..12
RELIEF SOUGHT………………………………………………………………...18
CERTIFICATE OF COMPLIANCE……………………………………………...20




                                                     i
                            TABLE OF AUTHORITIES
                                        CASES
Blonder-Tongue Labs, Inc. v. University of Illinois Foundation,
   402 U.S. 313, 333-334, 28 L. Ed. 2d 788, 91 S. Ct. 1434 (1971)……………..14

Fate v. Dixon,
  649 F. Supp. 551, 559 (E. D. N. C. 1986)……………………………………..13

Forrester v. White,
  484 U.S. 219, 227-229, 108 S. Ct. 538, 98 L. Ed. 2d 555 (1988)……..…..16, 17

Guiden v. Southeastern Public Service Authority,
  760 F. Supp. 1171 (E. D. Va. 1991)………………………………….………..16

Heller v. New York,
  413 U.S. 483, 93 S. Ct. 2789, 37 L. Ed. 745 (1973)…………...……………….6

In re: Goldston,
   No. 20-0742, 2021 WL 5370473 (W.Va. Nov. 18, 2021)....12, 13, 14, 15, 17, 18

In re: Varat Enters., Inc.,
   81 F.3d 1310, 1315 (4th Cir. 1996)…………………………….………………13

Jack Faucett Associates v. American Telephone and Telegraph Co.,
   240 U.S. App. D.C 103, 744 F.2d 118, 125 (D.C. Cir. 1984), cert. denied
   469 U.S. 1196, 105 S. Ct. 980, 83 L. Ed. 2d 982…………...…………………14

Johnson v. United States,
   333 U.S. 10, 14, 68 S. Ct. 367, 92 L. Ed. 436 (1948)…………..……….………5

Kendall v. C.F. Industries, Inc.,
  624 F. Supp. 1102 (N.D.III. 1986)……………………………………….……16

King v. Myers,
   973 F. 2d 354, 357 (4th Cir. 1992)………………………………………..8, 9, 10

Lo-Ji Sales, Inc. v. New York,
   442 U.S. 319, 99 S. Ct. 2319, 60 L. Ed. 2d 920 (1979)…. . . . . . . . 1, 2, 3, 4, 5, 6

                                           ii
Lopez v. Vanderwater,
  620 F.2d 1229 (7th Cir.), cert. dismissed
  449 U.S. 1028 1980)……………………………………………………….10, 11

Mireles v. Waco,
  502 U.S. 9, 11, 112 S. Ct. 286, 116 L. Ed. 2d 9 (1991)………………………..17

Montana v. United States,
  440 U.S. 147, 153, 99 S. Ct. 970, 59 L. Ed. 2d 210 (1979)……………………13

New Hampshire v. Maine,
  532 U.S. 742, 748, 121 S. Ct. 1808, 149 L. Ed. 2d 968 (2001)………………..12

Packer v. Hayes,
  79 Fed. Appx. 573 (4th Cir. 2003)….…………………………………………..15

Ramsay v. INS,
  14 F.3d 206, 210 (4th Cir. 1994)……………...……………………………13, 18

Ridley v. Leavitt,
   631 F. 2d 358 (4th Cir. 1980)…………………………………………………..15

Stump v. Sparkman,
   435 U.S. 349, 360, 98 S. Ct. 1099, 55 L. Ed. 2d 331 (1978)……8, 9, 10, 16, 17




                                       iii
                                                  STATUTES
42 U.S.C. § 1983 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12, 15
W. Va. Code §51-2A-9(b) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1, 6, 7, 11
W. Va. Code § 51-2A-7(a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .1, 6, 7, 11
West Virginia Code of Judicial Conduct Rules
  1.1, 1.2, 1.3, 2.2, 2.4(A), 2.4(B), and 2.5 . . . . . . . . . . . . . . . . . . . . . . . . . . .14, 18

West Virginia Rules of Judicial Disciplinary Procedure . . . . . . . . . . . . . . . . . . . . 14




                                                          iv
                               REPLY ARGUMENTS
      COMES NOW the Appellant, Defendant below, Louise E. Goldston, and

   submits for this Honorable Court’s review the following arguments in reply to

   the Appellee’s Brief.

   A. Contrary to the Appellee’s misconstruction of the factual record in his
      Response Brief, the Appellant did not participate in efforts to search for
      or locate property in the Appellee’s home.
      With respect to the Appellee’s contention that Judge Goldston herself

participated in efforts to locate items in the Appellee’s home, he hangs his rhetorical

hat on a single moment in the video recording taken by Deputy McPeake, which is

materially misconstrued in the Response Brief. See Response Brief at 20. The video

footage does not, in fact, show Judge Goldston searching for DVD’s, and does not

transform her conduct from judicially compelling the production of property

wrongfully withheld in a divorce settlement pursuant to W. Va. Code §§ 51-2A-9(b)

and 51-2A-7(a) at the scene into searching herself. See Digital Media Appendix 2

at 3:10 to 7:18. The referenced video portion merely shows Judge Goldston being

physically present while Mrs. Gibson searched for DVD’s. See id. As the Appellee

has not identified any other action that he contends constitutes ‘searching for items’,

the point stands that Judge Goldston did not herself engage in any actual searching.

   B. The Appellee’s reliance on Lo-Ji Sales, Inc. v. New York, 442 U.S. 319, 99
      S. Ct. 2319, 60 L. Ed. 2d 920 (1979), is misplaced, as judicial immunity


                                          1
      was not in issue in that case, and the case is factually distinguishable in
      material ways.
      The Appellee’s argument relies heavily on Lo-Ji Sales, Inc. v. New York, 442

U.S. 319, 99 S. Ct. 2319, 60 L. Ed. 2d 920 (1979), a United States Supreme Court

case which concerned an appeal of a denial of a motion to suppress the results of a

search warrant. He contends that this case and its progeny compel the conclusion

that the presence of a judge at the scene of a search constitutes an abdication of the

judicial role in a judicial immunity context. To the contrary, Lo-Ji’s shadow is not

so long.

      As judicial immunity was not at issue in Lo-Ji, being an appeal of a criminal

case rather than a civil suit for damages, it and its progeny cannot be considered

controlling in this matter. Lo-Ji’s only potential application to the Appellee’s

situation would be argue that the items recovered as a result of this interaction are

inadmissible as criminal evidence against him. As the Appellee has never been

charged criminally in connection with this matter, it is difficult to imagine the

relevancy of this point. Further, the case is eminently factually distinguishable

because, as addressed in foregoing sections, Judge Goldston did not participate in

search functions, but merely issued ongoing judicial orders while the property at

issue was recovered by the parties and law enforcement officers.




                                          2
      In Lo-Ji, a New York Town Justice was presented with two (2) films

purchased from Lo-Ji by a police investigator, which the investigator believed to

violate state obscenity laws. See Lo-Ji, 442 U.S. at 321. The investigator’s affidavit

in seeking the search warrant also claimed that other materials violating obscenity

laws could be found at the store, and requested that the Justice accompany him to

the store to determine whether additional obscene materials were present. See id.

After viewing the films and believing they did, the Justice issued a warrant to search

the store. See id. In the course of the search of the store, the Justice reviewed videos

on coin-operated projectors and inspected written materials after removing their

plastic wrappers. See id. at 322. He then ordered items he deemed obscene and

“similar items” seized. Id.

      The owner of the store was criminally charged under state obscenity laws, and

moved to have the fruits of the search suppressed, claiming that the search violated

the First, Fourth, and Fourteenth Amendments. See id. at 324. The motion was

denied and appealed, and eventually came before the United States Supreme Court.

The Supreme Court held, in relevant part, that the “Town Justice did not manifest

that neutrality and detachment demanded of a judicial officer when presented with a

warrant application for a search and seizure.” Id. at 326. This was because by “not

acting as a judicial officer but as an adjunct law enforcement officer,” thus assuming

the adversarial role of law enforcement in criminal investigation and prosecution, he

                                           3
abdicated his veneer of impartiality. Id. Because the presumptive validity of search

warrant depends on being “authorized by a neutral and detached judicial officer,”

the loss of the Justice’s air of neutrality also contributed to the search warrant’s loss

of validity. Id.

      At no point in Lo-Ji did the Supreme Court address the question of absolute

judicial immunity. Judicial immunity is a civil doctrine applied in suits for money

damages – it has no application in a criminal case like Lo-Ji. Lo-Ji’s conclusion that

the Justice’s participation in the execution of a search warrant operated to suppress

the introduction of the discovered evidence says nothing of whether that Justice

would have been entitled to judicial immunity had the store owner filed a civil suit

against him. A search of available case law revealed no federal or state cases which

have relied on Lo-Ji to deny judicial immunity. That case and its progeny simply

ask and answer different questions than those which appear before the Court in this

matter.

      The case now before this Court is also factually distinguishable in a number

of key ways. First, the Justice in Lo-Ji inarguably participated in the search. He

personally inspected the items in the shop, and made on-scene determinations of

which items were obscene and should be seized. He looked through the shop, and

viewed videos and written materials pre-seizure to determine whether they were

within the scope of the search warrant. This case shows no such participation –
                                            4
merely presence at the scene, and continuing adjudication of motions brought before

the judge. The only point at which the Appellee disputes this conclusion is his claim

that Judge Goldston “searched” for DVD’s. As discussed in foregoing sections, this

is a mischaracterization of segment of Deputy McPeake’s video being referred to.

See supra § A. The Court can capably review the video and judge for itself whether

Judge Goldston performed any “searching” in that interaction, but it should be

apparent upon such review that she merely observed Mrs. Gibson and law

enforcement officers searching, and ruled on motions and resolved disputes on scene

instead of from the courthouse. This is a far cry from the level of involvement

exhibited in Lo-Ji.

      Further, the reason that the Judge’s participation in the search in Lo-Ji was

considered to have deviated from the role of a judge is rooted in entirely criminal

concerns. As discussed above, federal courts have long recognized that a valid

search warrant requires issuance by a neutral and detached magistrate, to temper the

“often competitive enterprise of ferreting out crime” in which law enforcement

officers engage. Johnson v. United States, 333 U.S. 10, 14, 68 S. Ct. 367, 92 L. Ed.

436 (1948). There was no ‘ferreting out of crime’ to be done here, as this was not a

criminal case. No person involved was on the hunt for evidence of criminal activity.

Rather, the persons present were there to compel the production of unproduced

property subject to a divorce decree, which is an express power of West Virginia

                                          5
Family Court Judges. See W. Va. Code § 51-2A-9(b) (“A family court judge may

enforce compliance with his or her lawful orders with remedial or coercive sanctions

designed to compensate a complainant for losses sustained and to coerce obedience

for the benefit of the complainant… Sanctions may include, but are not limited to,

seizure or impoundment of property to secure compliance with a prior order.”); see

also W. Va. Code § 51-2A-7(a) (“[T]he family court judge has the authority to… (4)

Compel and supervise the production of evidence…”) (Emphasis added).

Irrespective of what the common law may consider to be a traditional judicial

function, West Virginia statute declares in no uncertain terms that compelling and

supervising the production of evidence is a function of a family court judge. See id.

Thus, the underlying principles which led to the Supreme Court’s ruling in Lo-Ji are

completely absent here, and it should not be considered controlling.

      Mere presence by a judge at the scene of a search has never been held to

remove the cloak of judicial immunity, nor even to compel the same conclusion as

was reached in Lo-Ji. This contrast is shown by the Supreme Court’s ruling in Heller

v. New York, 413 U.S. 483, 93 S. Ct. 2789, 37 L. Ed. 2d 745 (1973), another New

York obscenity case that found its way to the Supreme Court. In Heller, a New York

criminal court judge purchased a movie ticket at a theater. Id. at 485. Upon viewing

the movie, he deemed it to be obscene, and issued a warrant for a seizure of a copy

of the film as evidence in a prosecution of the proprietor. See id. The fact that the

                                         6
judge went to the theater and viewed the movie himself did not invalidate his

warrant, nor did any Court find that he acted nonjudicially. See id. at 488-489.

There is thus a clear distinction between engaging in actual search functions and

merely being present as an observer.

      The record shows plainly that Judge Goldston did not engage in search

functions. Rather, she engaged in judicial functions, such as ordering wrongfully-

withheld property to be turned over, ruling on motions by the parties, and

supervising the production of evidence, as she is statutorily empowered to do. See,

e.g., JA 177; see also W. Va. Code §§ 51-2A-9(b); 51-2A-7(a), supra. No act shown

on the case record took Judge Goldston outside the bounds of judicial immunity, and

the District Court thus erred in refusing to grant summary judgment.

   C. Based on the record and applicable case law, Judge Goldston did not act
      in the absence of all jurisdiction.
      The Appellee’s argument that Judge Goldston acted in the absence of all

jurisdiction is flawed both because it rests upon a premise that is not established –

namely, that she participated in a search rather than merely overseeing the compelled

production of property subject to distribution – and because it takes a mistaken view

of the scope of jurisdiction.

      First, as addressed in prior sections of this Brief, there is simply not evidence

on the case record to suggest that Judge Goldston herself performed searching

                                          7
functions rather than merely supervising the compelled production of property. The

Appellee’s attempt to point out an instance of such conduct – that Judge Goldston

allegedly searched for DVD’s – is plainly shown by Deputy McPeake’s video

recording to prove no such thing. See supra § A. Because no other specific instances

of conduct are claimed to be actual searching activity rather than mere oversight and

supervision of the production of evidence and distribution of property, it should

follow that Judge Goldston did not engage in a “search” so far outside her proper

oversight role as to be considered nonjudicial.

      Second, the actions which are shown on the record and in the video recordings

were not in the complete absence of all jurisdiction. The Appellee’s brief somewhat

conflates the two elements of the test for overcoming judicial immunity. The

jurisdictional prong is concerned with subject matter and geographic jurisdiction.

Whether an act at issue properly belongs to a judge is covered by the first prong.

The jurisdictional test deprives a judge of judicial immunity where “there is clearly

no jurisdiction over the subject-matter . . . [and] the want of jurisdiction is known to

the judge . . . .” King v. Myers, 973 F.2d 354, 357 (4th Cir. 1992) (quoting Stump v.

Sparkman, 435 U.S. 349, 357, 55 L. Ed. 2d 331, 98 S. Ct. 1099 (1978)) (internal

quotation marks omitted). The relevant question under this prong is “whether at the

time [the judge] took the challenged action he had jurisdiction over the subject matter

before him.” Id. “[I]n answering that question, the scope of the judge's jurisdiction

                                           8
must be construed broadly[.]” Id. (Internal citations and quotations omitted). A

judge does not act in the complete absence of all jurisdiction even where the

“exercise of authority is flawed by the commission of grave procedural errors.” Id.

      The illustration of a judge acting in the absence of all jurisdiction which is

repeatedly employed, including in the Appellee’s Brief, is that of a probate judge

with jurisdiction only over wills and estates attempting to oversee a criminal

prosecution. See, e.g., Stump, 435 U.S. at 357. Authority over that subject matter

is completely denied to the judge in that circumstance. In contrast, Judge Goldston,

as a Family Court Judge, has express jurisdiction over the distribution of property

pursuant to a divorce decree, and express authority to compel and supervise the

production of the same.

      The distinction is plainly shown by this Court’s discussion of the relevant

principles in King v. Myers, cited supra. In King, this Court addressed the instance

of a Virginia Magistrate who ordered the warrantless arrest of a party to a divorce

proceeding. King, 973 F.2d at 355. After Ms. King changed the locks on the house

and denied her ex-husband and daughters access to collect the daughters’

belongings, Magistrate Myers telephoned Ms. King and asked to arrange a time

when the daughters could collect their property. See id. At the agreed time, a police

officer arrived without a warrant and told Ms. King that he had been ordered to bring

her to Magistrate Myers’ office. See id. at 355-356. Once there, Magistrate Myers
                                          9
informed Ms. King that she was being charged with assault and battery, as well as

child neglect for locking her daughters out of the house. See id. at 356. The charges

were later nolle prossed. See id.

      Ms. King subsequently filed suit against several involved parties, including

Magistrate Myers. See id. In response to the assertion of judicial immunity, Ms.

King argued that, under Virginia law, only law enforcement officers are empowered

to make warrantless arrests, Magistrate Myers had usurped an executive branch

function by ordering her arrest without issuing an arrest warrant. See id. at 357. In

rejecting this argument, this Court reasoned as follows:

      The boundaries of a magistrate's authority to issue process of arrest may
      well have been overstepped, perhaps even widely, in the instant
      circumstances. However, Magistrate Myers has jurisdiction to arrange,
      albeit with a warrant, for the arrest of those as to whom a complaint of
      criminal conduct has been made, and the law officer whom she directed
      to bring King in has the authority to make warrantless arrests under
      certain circumstances. In addition, the subject matter of alleged
      criminal conduct in the context of a domestic relations dispute is an area
      over which magistrates have jurisdiction. Moreover, we are obligated
      to construe the scope of her jurisdiction broadly. See Stump v.
      Sparkman, 435 U.S. at 356. Therefore, we cannot conclude that
      Magistrate Myers acted in the “clear absence of all jurisdiction over the
      subject matter.”
King, 973 F.2d at 357.

      This Court supported this conclusion with reference to Lopez v. Vanderwater,

620 F.2d 1229 (7th Cir.), cert. dismissed, 449 U.S. 1028 (1980). In Lopez, the

Seventh Circuit held that an Illinois judge did not act “in the clear absence of all
                                         10
jurisdiction” when he arraigned, convicted, and sentenced a defendant outside of a

courtroom, in a police station housed in a branch of the court to which he was not

assigned, and in a case to which he was not assigned. See id. at 1234. The Lopez

Court held that while he may have acted “in excess” of his jurisdiction by acting on

a case without assignment, he did not act in the clear absence of all jurisdiction,

because as an Illinois criminal court judge, he did have jurisdiction over the general

subject matter of the case. Id.1

       Likewise, Judge Goldston has jurisdiction over the subject matter at issue in

the underlying matter. She is a West Virginia Family Court Judge based in Raleigh

County, West Virginia.          She has unquestionable jurisdiction over a property

distribution in a Raleigh County divorce, especially one to which she was assigned

as judge. She has specific statutory power to “enforce compliance with his or her

lawful orders with remedial or coercive sanctions” such as “seizure or impoundment

of property” and to “[c]ompel and supervise the production of evidence…” W. Va.

Code §§ 51-2A-9(b); 51-2A-7(a). As highlighted by Lopez, supra, it is immaterial

to this question whether the acts were undertaken inside or outside of a courtroom.

As her jurisdiction over the subject matter of the proceedings at issue is beyond



1
  The judge in Lopez was denied judicial immunity for certain acts, including deciding to charge,
determining the charge to be brought, and preparing charging documents, as these were determined
to be prosecutorial rather than judicial functions. See Lopez, 620 F.2d at 1235. However, the
jurisdictional prong was not held to have been violated.
                                               11
question, Judge Goldston cannot be denied judicial immunity under the

jurisdictional prong, and the District Court’s holding to the contrary should be

reversed.

   D. The West Virginia Supreme Court of Appeals’ opinion in In Re Goldston
      has no preclusive effect as to questions of law in this matter.


      The Appellee contends in his Response Brief that the West Virginia Supreme

Court of Appeals’ decision in In Re Goldston should be held preclusive of any

attempt by Judge Goldston to assert judicial immunity, or to claim that she did not

participate in search functions outside the judicial role. It should first be noted that

the District Court did not base any of its holdings on an application of any preclusion

doctrine. J.A. 886-904. Nonetheless, this cannot be the case, because absolute

judicial immunity was not at issue in that matter. In Re Goldston is inapplicable.

      Res judicata takes two overarching forms: claim preclusion, and issue

preclusion. First, claim preclusion has no bearing on this appeal. Under claim

preclusion, a final judgment forecloses “successive litigation of the very same claim,

whether or not relitigation of the claim raises the same issues as the earlier suit.”

New Hampshire v. Maine, 532 U.S. 742, 748, 121 S. Ct. 1808, 149 L. Ed. 2d 968

(2001). In Re Goldston did not concern the same claims that are at issue in this case.

It was a judicial disciplinary proceeding, and this is a 42 U.S.C. § 1983 claim for

alleged violations of the First, Fourth, and Fourteenth Amendments, as well as a civil

                                          12
conspiracy claim. None of those causes of action were adjudicated by the Supreme

Court in In Re Goldston, and therefore claim preclusion would be entirely

inappropriate.

      Nor are the issues the Appellee asserts so precluded. Issue preclusion, or

collateral estoppel, “operates to bar subsequent litigation of those legal and factual

issues common to both actions that were ‘actually and necessarily determined by a

court of competent jurisdiction’ in the first litigation.’” In re Varat Enters., Inc., 81

F.3d 1310, 1315 (4th Cir. 1996) (quoting Montana v. United States, 440 U.S. 147,

153, 99 S. Ct. 970, 59 L. Ed. 2d 210(1979)). Collateral estoppel applies only if: (1)

the issue sought to be precluded is identical to the issue previously litigated; (2) the

issue must have been actually litigated and determined in the prior proceeding; (3)

the issue must have been necessary to the prior proceeding's decision; (4) the prior

judgment must be final and valid; and (5) the party against whom preclusion is

sought must have had a full and fair opportunity to litigate the issue in the previous

suit. See Ramsay v. INS, 14 F.3d 206, 210 (4th Cir. 1994).

      Courts are especially cautious about applying collateral estoppel where such

estoppel is used offensively, as the Appellee is attempting to do here. In such cases,

Courts are exhorted to use “‘special care’ to ensure that preclusion will not lead to

unjust results.” Fate v. Dixon, 649 F. Supp. 551, 559 (E. D. N. C. 1986). “Fairness

to the defendant” is a critical finding necessary to the application of offensive


                                           13
collateral estoppel. Jack Faucett Associates v. American Telephone and Telegraph

Co., 240 U.S. App. D.C. 103, 744 F.2d 118, 125 (D.C. Cir. 1984), cert. denied 469

U.S. 1196, 105 S. Ct. 980, 83 L. Ed. 2d 982. “As so often is the case, no one set of

facts, no one collection of words or phrases, will provide an automatic formula for

proper rulings on estoppel pleas. In the end, decision will necessarily rest on the trial

courts' sense of justice and equity.” Blonder-Tongue Labs, Inc. v. University of

Illinois Foundation, 402 U.S. 313, 333-334, 28 L. Ed. 2d 788, 91 S. Ct. 1434 (1971).

      In Re Goldston was a judicial disciplinary proceeding, conducted under the

West Virginia Code of Judicial Conduct (“CJC”) and West Virginia Rules of Judicial

Disciplinary Procedure (“RJDP”). In its ruling, the West Virginia Supreme Court

of Appeals affirmed the Judicial Hearing Board’s conclusion that Rules 1.1, 1.2, 1.3,

2.2. 2.4(A), 2.4(B), and 2.5 of the Code of Judicial Conduct had been violated by the

conduct at issue in this case. In that determination, the Court stated that the incident

occurring at the Appellee’s home was a “search,” which is a power of the executive

branch of government, rather than a judicial “view.” It held that in doing so, the

Appellant performed an act that was outside her authority as a judge. The Appellee

argues that these conclusions collaterally estop her from claiming absolute judicial

immunity. It should be apparent from a review of the applicable standard that this

is not the case.

      In this case, a minimum of four (4) elements of the collateral estoppel standard


                                           14
are unmet by the Plaintiff’s argument. First, the issues sought to be precluded are

not identical to any issue adjudicated in In Re Goldston. Elements 2, 3, and 5 are

therefore also unmet, because the same issue we address in this matter was not

addressed by the Court in In Re Goldston.

      The mere commonality of an operative set of facts is not sufficient to invoke

collateral estoppel. Many Courts, including those of this Circuit, have held that

where the referenced prior proceeding applied identical facts to a different legal

standard, collateral estoppel was not appropriate. In Ridley v. Leavitt, 631 F.2d 358

(4th Cir. 1980), this Court addressed a collateral estoppel defense asserted against a

§ 1983 excessive force claim by an inmate. The defendants therein asserted that

because the plaintiff had been previously convicted of assaulting the prison guards

in the same interaction, that it was already established that he was the aggressor in

the interaction, and that the excessive force claim was therefore precluded. See id.

at 359. The Court disagreed, holding that the fact that the plaintiff was the initial

aggressor does not foreclose the possibility that the correctional officers responded

with excessive force – a question which was not at issue in the criminal proceeding.

See id. at 359-360. An identical conclusion was reached in Packer v. Hayes, 79 Fed.

Appx. 573 (4th Cir. 2003) (holding that state court assault conviction of an inmate

against a correctional officer did not preclude excessive force claim by the inmate

regarding the same interaction).


                                         15
        Likewise, in Guiden v. Southeastern Public Service Authority, 760 F. Supp.

1171 (E. D. Va. 1991), the Eastern District of Virginia engaged in a multi-state case

law survey to conclude that a prior denial of unemployment compensation upon a

finding that the plaintiff was terminated for “misconduct” was not preclusive in a

subsequent wrongful termination suit. See id. at 1176-1177. In Guiden, the Court

notably surveyed an age discrimination case wherein the plaintiff sought to apply

collateral estoppel to the reason for her termination. See Kendall v. C.F. Industries,

Inc., 624 F. Supp. 1102 (N.D.Ill. 1986). This was based on the fact that the plaintiff

had previously applied for unemployment benefits, and the responsible

administrative agency held that she was not terminated for misconduct. See id. at

1106.     The Court declined to apply collateral estoppel, as the standard for

“misconduct” as a legitimate reason for termination and “misconduct” as a basis for

denying unemployment compensation were not identical.             See id.   (“[W]hen

different standards are applied to the same facts in reaching a legal conclusion, the

issues are not identical for purposes of issue preclusion.”).

        The same principle applies here.       The standard for penetrating judicial

immunity was discussed at length in prior filings of this case:

        There are only two sets of circumstances in which judicial immunity is
        overcome. First, a judge is not immune from liability for nonjudicial
        actions, i.e., actions not taken in the judge’s role as a judge. See
        Forrester v. White, 484 U.S. 219, 227-229, 108 S. Ct. 538, 98 L. Ed. 2d
        555 (1988); Stump v. Sparkman, 435 U.S. 349, 360, 98 S. Ct. 1099, 55
        L. Ed. 2d 331 (1978). Second, a judge is not immune for actions,
                                          16
      though judicial in nature, taken in the complete absence of all
      jurisdiction. Stump at 356-357. This does not mean, however, that
      judges are liable for actions which are merely beyond their authority.
      “A judge will not be deprived of immunity because the action he took
      was in error, was done maliciously, or was in excess of his authority.”
      Id. at Syl. Pt. (a). “[W]hether an act by a judge is a ‘judicial’ one
      relate[s] to the nature of the act itself, i.e., whether it is a function
      normally performed by a judge, and to the expectations of the parties,
      i.e., whether they dealt with the judge in his judicial capacity.” Stump
      at 362; see also Forrester at 227-229.

J.A. 81. This principle was further expounded upon in Mireles v. Waco, 502 U.S. 9,

112 S. Ct. 286, 116 L. Ed. 2d 9 (1991), as follows:

      Of course, a judge's direction to police officers to carry out a judicial
      order with excessive force is not a “function normally performed by a
      judge.” Stump v. Sparkman, 435 U.S. at 362. But if only the particular
      act in question were to be scrutinized, then any mistake of a judge in
      excess of his authority would become a “nonjudicial” act, because an
      improper or erroneous act cannot be said to be normally performed by
      a judge. If judicial immunity means anything, it means that a judge
      “will not be deprived of immunity because the action he took was in
      error . . . or was in excess of his authority.” Id., at 356. See also
      Forrester v. White, 484 U.S. at 227 (a judicial act “does not become
      less judicial by virtue of an allegation of malice or corruption of
      motive”). Accordingly, as the language in Stump indicates, the relevant
      inquiry is the “nature” and “function” of the act, not the “act itself.” 435
      U.S. at 362. In other words, we look to the particular act's relation to a
      general function normally performed by a judge, in this case the
      function of directing police officers to bring counsel in a pending case
      before the court.

Mireles at 12-13.

      These standards were not addressed in In Re Goldston, because judicial

immunity was not in issue in that matter. Because judicial immunity is a defense

only in civil suits for damages, a judicial disciplinary proceeding would have no use
                                          17
for that standard. Neither are any of the rules of the West Virginia Code of Judicial

Conduct duplicative of these standards. See W. Va. CJC 1.1, 1.2, 1.3, 2.2. 2.4(A),

2.4(B), and 2.5. Thus, the issue sought to be precluded is not identical to any issue

decided in the prior proceeding, and the first element of the collateral estoppel

determination is unmet.

      Likewise, the second element is unmet. Since the issue sought to be precluded

was not addressed in the prior proceeding, it cannot have been “actually litigated and

determined.” Ramsay at 210. In the same manner, an unaddressed issue cannot have

been “necessary to the prior proceeding's decision,” leaving the third element unmet.

Id. Finally, the Appellant cannot have had “a full and fair opportunity to litigate the

issue in the previous suit” when the issue was not addressed in that suit. Id. The

fifth element is therefore also unmet. Given that four of the five elements of

collateral estoppel are unmet, its application is therefore inappropriate, and the

Appellee’s

      Nor can the outcome of In Re Goldston preclude Judge Goldston from

asserting that she did not undertake search functions. A “search” is a legal term of

art which may carry different meanings in different contexts.

                                RELIEF SOUGHT
      WHEREFORE, based on the foregoing, and on the grounds asserted in her

Appellant’s Brief, the Appellant, the Hon. Louise E. Goldston, respectfully prays


                                          18
this Honorable Court REVERSE the District Court’s denial of her Motion for

Summary Judgment, that this Court find that she is entitled to absolute judicial

immunity, and grant her such other relief as the Court deems just and proper.

                                              /s/ John P. Fuller _______
                                             Jennifer E. Tully (WV Bar #9356)
                                             John P. Fuller (WV Bar #9116)
                                             Adam K. Strider (WV Bar #12483)
                                             BAILEY & WYANT, PLLC
                                             500 Virginia Street, East, Suite 600
                                             Post Office Box 3710
                                             Charleston, West Virginia 25337
                                             T: 304.345.4222
                                             F: 304.343.3133
                                             jtully@baileywyant.com
                                             jfuller@baileywyant.com
                                             astrider@baileywyant.com




                                        19
                  CERTIFICATE OF COMPLIANCE

1. This brief complies with the type-volume limitation of F. R. App. P.

   28.1(e)(2) because it contains a total of 4,836 words, omitting excludable

   portions.

2. This brief complies with the typeface using requirements of Fed. R. App. P.

   32(a)(5) and the type style requirements of Fed. R. App. P. 32(a) because it

   has been prepared in 14-Point Times New Roman font text using Microsoft

   Office.

                                          /s/ John P. Fuller           _
                                         Jennifer E. Tully (WV Bar #9356)
                                         John P. Fuller (WV Bar #9116)
                                         Adam K. Strider (WV Bar #12483)
                                         BAILEY & WYANT, PLLC




                                    20
